         Case 1:22-cr-00166-BAH Document 23 Filed 09/15/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
              v.                             :
                                             :       Case No.: 22-cr-166-BAH
JOHN TODD GEORGE III                         :
                                             :
                        Defendant.           :
                                             :


                                NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Trial Attorney Barry K. Disney entering his

appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,



DATED: September 15, 2022                    MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                     By:     /s/ Barry K. Disney
                                             BARRY K. DISNEY
                                             Trial Attorney - Detailee
                                             Kansas Bar Number 13284
                                             United States Attorney’s Office for the District of
                                             Columbia
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             Office: 202-305-4367
                                             Email: Barry.Disney@usdoj.gov
         Case 1:22-cr-00166-BAH Document 23 Filed 09/15/22 Page 2 of 2




                               CERTIFICATE OF SERVICE


        On this 15th day of September 2022, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   /s/ Barry K. Disney
                                                   BARRY K. DISNEY
                                                   Trial Attorney
